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                           EXHIBIT 2
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

ASSOCIATION OF AMERICAN                    )
PHYSICIANS & SURGEONS,                     )
              Plaintiff,                   )
                      v.                   )
FOOD & DRUG ADMINISTRATION;                )
DR. STEPHEN M. HAHN, Commissioner )
of Food & Drugs, in his official capacity; )
BIOMEDICAL ADVANCED RESEARCH )                      No. 1:20-cv-00493-RJJ-SJB
& DEVELOPMENT AUTHORITY;                   )
GARY L. DISBROW, Ph.D., Acting             )
Director, Biomedical Advanced Research     )        Hon. Robert J. Jonker
& Development Authority, in his official   )
capacity; DEPARTMENT OF HEALTH & )
HUMAN SERVICES; and ALEX AZAR,             )
Secretary of Health & Human Services, in )
his official capacity,                     )
       Defendants.                         )

                    DECLARATION BY JEREMY SNAVELY


      I, Jeremy Snavely, hereby declare that:

      1.      I am over the age of 21 years and competent to make this declaration

pursuant to 28 U.S.C. § 1746. I have not been convicted of a felony or a crime of

dishonesty.

      2.      I am the Business Manager and Director of Regulatory Affairs of

Plaintiff Association of American Physicians & Surgeons (AAPS) in this action.




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      3.     The issues raised in this case are germane to the mission of AAPS,

whose motto is “omnia pro aegroto” (meaning “all for the patient”), as the

interference with patient access to hydroxychloroquine and physicians’ ability to

successfully prescribe are central to AAPS’s principles and reasons for existing.

      4.     In my role at AAPS I frequently communicate with physician

members of AAPS from across the United States, and based on these

communications I have observed the following.

      5.     The actions by the U.S Food and Drug Administration (FDA)

limiting the use of hydroxychloroquine (HCQ) have impeded the ability of AAPS

members to practice patient-centered medicine.

      6.     Multiple members of AAPS have communicated to AAPS their

inability to prescribe hydroxychloroquine (HCQ) for a full regimen to treat or

prevent COVID-19, including but not limited to physicians in Western Michigan,

Georgia, New Jersey, Arizona, and Texas.

      7.     The AAPS physician member who practices within the federal

Western District of Michigan, identified as “Dr. John Doe” in the Complaint to

protect him against retaliation, has been unable to successfully prescribe a full

regimen of HCQ for patients in need of it, due to the FDA’s restrictions on HCQ.

      8.     Numerous physician members of AAPS, including this “Dr. John

Doe,” reasonably fear retaliation against them by state medical boards based on


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Defendants’ irrational restrictions on HCQ along with the incorporation of the

directive made to state medical boards by the Federation of State Medical Boards.

      9.      As I have learned from this “Dr. John Doe,” patients of his have been

additionally harmed by being denied access to a full regimen of the potentially

lifesaving HCQ.

      10.     A physician member of AAPS in Georgia informed AAPS of the

following: “I’m continuing to be thwarted ... in regards to prophylactic

hydroxychloroquine for my nursing home patients. I had a nursing home … patient

pass away last night. The dead patient’s roommate now is achy all over with a

99.7 temp.”

      11.     We have heard from physician members of AAPS in Texas and Maine

who are under investigation by their state medical boards simply for

recommending and/or prescribing hydroxychloroquine to patients.

      12.     The Maine medical board included the FDA’s March 28 Emergency

Use Authorization (EUA) letter restricting HCQ to hospitalized patients as

evidence that the physician was somehow practicing in violation of Maine statutes.

      13.     States issuing restrictions appear to be relying on guidelines issued by

the Federation of State Medical Boards, which cite the FDA’s EUA as a rationale

for the imposition of state-based restrictions.




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      14.    In addition, AAPS members have communicated with me concerning

the status of the remaining HCQ in the Strategic National Stockpile (SNS).

      15.    Regarding the SNS, the Orlando Sun Sentinel reported on June 17,

2020 the following: “As of Monday, the government has distributed 31 million

tablets of hydroxychloroquine to state and local health departments, hospitals and

research institutions; 63 million tablets remain, according to Carol Danko, a

spokeswoman for the Department of Health and Human Services."

      16.    A physician member of AAPS wrote to us to suggest that, “Hopefully

[HHS] can issue [HCQ languishing in the SNS] in such a manner to those in need

under medical care such as nursing home patients, other high risk [patients], [and]

[p]eople in need of prophylaxis while working.”

      17.    AAPS members are also concerned about the following conflicting

statements issued by HHS related to the FDA’s June 15, 2020 revocation of the

March 28, 2020 EUA for HCQ.

      18.    HHS Secretary Azar stated in response to questions about the June 15

revocation: “If a doctor wishes to prescribe it [HCQ], working with a patient, they

may prescribe it for any purpose that they wish to do so. And this [the revocation]

actually removes a potential barrier to that.”

      19.    However an announcement on the HHS website about the revocation

states: “Now, hydroxychloroquine sulfate and chloroquine phosphate can only be


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used for the treatment of COVID-19 as part of an ongoing clinical trial.”

https://www.phe.gov/emergency/events/COVID19/investigation-

MCM/Pages/hydroxychloroquine.aspx

      20.    Separately, the FDA’s “Frequently Asked Questions on the

Revocation of the Emergency Use Authorization for Hydroxychloroquine Sulfate

and Chloroquine Phosphate” states, “FDA does not recommend using HCQ or CQ

to treat hospitalized patients with COVID-19 outside of a clinical trial.”

      21.    The above three statements from HHS entities present conflicting

information about the ability of a physician to prescribe HCQ.

      22.    The unavailability of HCQ is impeding the ability of AAPS members

to attend our meetings.

      23.    Our Workshop and Board Meeting scheduled for March 20 and 21,

2020, were cancelled. To my knowledge, the last time AAPS cancelled an event

was in 1945 due to WWII travel restrictions.

      24.    The ability to hold the AAPS 77th Annual Meeting, scheduled for

September 30 to October 3, 2020, is in jeopardy. Members have expressed to me

their concern about travelling safely to the meeting and registration levels are

trending significantly lower than in previous years.

      25.    Pre-registrations for the AAPS Annual Meeting are currently more

than 90% lower than over the same period in 2019.


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      26.      Our scholarship program to bring Medical Students to our meetings is

similarly negatively impacted.

      27.      If HCQ were widely available as a prophylactic, and for early

treatment, our members might be more comfortable attending our events.

      28.      I have reviewed COVID-19 data published on the

worldometers.info/coronavirus website, and reviewed reports concerning HCQ

policies. Worldometer is an independent and self-financed team of developers with

no political, governmental, or corporate affiliation. I have found that HCQ use

generally correlates with success in minimizing casualties from COVID-19:

       Country              HCQ Policy             Percentage       COVID-19
                                                   COVID-19         Deaths Per
                                                   Deaths Per       Million in
                                                   Case             Population
       United Kingdom HCQ is discouraged           14%              628
                      and mostly
                      unavailable
       Italy          HCQ’s value was not          14.5%            573
                      known for the many
                      initial casualties
       France         HCQ is officially            18.5%            454
                      disfavored
       United States  FDA interferes with          5.2%             370
                      access to HCQ
       Russia         HCQ is encouraged            1.4%             56

       India                HCQ is used            3.2%             10
                            prophylactically
       Turkey               HCQ is used as early   2.6%             59
                            treatment



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       Country             HCQ Policy             Percentage       COVID-19
                                                  COVID-19         Deaths Per
                                                  Deaths Per       Million in
                                                  Case             Population
       Israel              HCQ is encouraged      1.5%             33

       South Korea         HCQ is encouraged      2.3%             5



      29.    In a similar manner, I have developed the following chart concerning

HCQ and mortality from COVID-19, to illustrate the impact of

allowing/encouraging or banning/discouraging use of HCQ:




      30.    More than 25 articles since 1982 published in peer-reviewed medical

journals have reported on the safety of HCQ, and these articles are included in the

PubMed database as maintained by the United States National Library of Medicine

at the National Institutes of Health.




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